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                                United States District Court
                                         EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

    LA’SHADION SHEMWELL                                      §
                                                             §
    v.                                                       §    CIVIL ACTION NO. 4:20-CV-43-SDJ
                                                             §
    CITY OF MCKINNEY, TEXAS                                  §
                                            SCHEDULING ORDER

        The Court, after reviewing the case management report required by Federal Rule of Civil
Procedure 26(f) and conferring with the parties either by e-mail or scheduling conference, enters
this case-specific order which controls disposition of this action pending further order of the Court.
The following actions shall be completed by the date indicated. 1

                                                   DEADLINES

    02/5/2020                                  Deadline to add parties.

    02/05/2020                                 Deadline for Plaintiff to file amended pleadings.
                                               (A motion for leave to amend is required.)

    02/17/2020                                 Deadline for Defendant to file its answer to Plaintiff’s
                                               complaint.

    02/28/2020                                 Disclosure of expert testimony pursuant to Fed. R. Civ. P.
                                               26(a)(2) and Local Rule CV-26(b) on issues for which the
                                               party bears the burden of proof.

    02/28/2020                                 Deadline for Defendant to file final amended pleadings.
                                               (A motion for leave to amend is required.)

    03/10/2020                                 All discovery shall be commenced in time to be completed by
                                               this date.

    One week after disclosure                  Deadline to object to any other party’s expert witnesses.
    of an expert is made                       Objection shall be made by a motion to strike or limit expert
                                               testimony and shall be accompanied by a copy of the expert’s
                                               report in order to provide the Court with all the information
                                               necessary to make a ruling on any objection.



1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.

                                                            1
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    03/13/2020                                Disclosure of expert testimony pursuant to Fed. R. Civ. P.
                                              26(a)(2) and Local Rule CV-26(b) on issues for which the
                                              party does not bear the burden of proof.

    03/13/2020                                Video Deposition Designation due. Each party who proposes
                                              to offer a deposition by video shall serve on all other parties
                                              a disclosure identifying the line and page numbers to be
                                              offered. All other parties will have seven calendar days to
                                              serve a response with any objections and requesting cross-
                                              examination line and page numbers to be included. Counsel
                                              must consult on any objections and only those which cannot
                                              be resolved shall be presented to the Court. The party who
                                              filed the initial Video Deposition Designation is responsible
                                              for preparation of the final edited video in accordance with
                                              all parties’ designations and the Court’s rulings on objections.

    03/16/2020                                Deadline for motions to dismiss, motions for summary
                                              judgment, or other dispositive motions.

    03/17/2020                                All depositions shall be taken by this date. Notices for
                                              deposition shall be served at least seven (7) days before the
                                              deposition date.


    03/17/2020                                Counsel and unrepresented parties are each responsible for
                                              contacting opposing counsel and unrepresented parties to
                                              determine how they will prepare the Joint Final Pretrial Order
                                              (See www.txed.uscourts.gov) and Joint Proposed Jury
                                              Instructions and Verdict Form (or Proposed Findings of Fact
                                              and Conclusions of Law in non-jury cases).

    03/23/2020                                File Joint Final Pretrial Order. (See www.txed.uscourts.gov).

    03/23/2020                                File objections to witnesses, deposition extracts, and exhibits,
                                              listed in pre-trial order. 2 (This does not extend the deadline
                                              to object to expert witnesses.) (Provide the exhibit objected
                                              to in the motion or response.) If numerous objections are
                                              filed, the Court may set a hearing prior to docket call.




2
 Within three calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the Court of all issues which are resolved.
The Court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

                                                          2
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 03/25/2020                            Notice of intent to offer certified records.

 Date will be set by Court.            If numerous objections are filed, the Court may set a hearing
 Usually within 10 days                to consider all pending motions and objections.
 prior to pretrial conf.

 March 27, 2020                        Final Pretrial Conference at 9:00 a.m. at the United States
                                       Courthouse located at 7940 Preston Road in Plano, Texas.

 March 30, 2020                        9:00 a.m. bench trial at the United States Courthouse located
                                       at 7940 Preston Road, Plano, Texas 75024.


                                    SCOPE OF DISCOVERY

        Modification. Taking into account the needs of the case, the amount in controversy, the
parties’ resources, the importance of the issues at stake in the litigation, and the importance of the
proposed discovery in resolving the issues, the Court modifies the parameters of discovery in the
following respects. See Fed. R. Civ. P. 26(b)(2).

       Disclosure. The parties are reminded of the requirement, set out in this Court’s Initial Order
Governing Proceedings, to have already disclosed, without awaiting a discovery request,
information in addition to that required by Fed. R. Civ. P. 26, including names of persons likely to
have, and documents containing, information “relevant to the claim or defense of any party.”

        If there are any questions about whether information is “relevant to the claim or defense of
any party” review Local Rule CV-26(d). A party that fails to timely disclose any of the information
required to be disclosed by order of this Court or by the Federal Rules of Procedure, will not,
unless such failure is harmless, be permitted to use such evidence at trial, hearing or in support of
a motion.

       Electronic Discovery. Electronically stored information will be produced in hard copy form
or multi-page TIFF format, unless the parties agree otherwise.

       The parties are excused from the pretrial disclosure requirements set forth in Federal Rule
of Civil Procedure 26(a)(3), as such disclosure is cumulative of this Court’s pre-trial order
procedures.




                                                  3
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                                     DISCOVERY DISPUTES

         In the event the parties encounter a discovery dispute, no motions to compel may be filed
until after the parties fulfill the “meet and confer” requirement imposed by this Court’s Local Rule
CV-7(h). If the parties are unable to resolve the dispute without court intervention, the parties must
then call the Court’s chambers to schedule a telephone conference regarding the subject matter of
the dispute prior to filing any motion to compel. After reviewing the dispute, the Court will resolve
the dispute, order the parties to file an appropriate motion, or direct the parties to call the discovery
hotline.

       A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline number is (903) 590-1198. See Local
Rule CV-26(e).

                                            RESOURCES

        The Eastern District of Texas website (http://www.txed.uscourts.gov) contains information
about Electronic filing, which is mandatory, Local Rules, telephone numbers, general orders,
frequently requested cases, the Eastern District fee schedule, and other information. The electronic
filing HelpLine is 1-866-251-7534.

                                           COMPLIANCE

        A party is not excused from the requirements of this scheduling order or dispositive
motions are pending, the party has not completed its investigation, the party challenges the
sufficiency of the opposing party’s disclosure or because another party has failed to comply with
this order or the rules.

        Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
Procedure or this order may result in the exclusion of evidence at trial, the imposition of sanctions
by the Court, or both. If a fellow member of the Bar makes a just request for cooperation or seeks
scheduling accommodation, a lawyer will not arbitrarily or unreasonably withhold consent.
However, the Court is not bound to accept agreements of counsel to extend deadlines imposed by
rule or court order. See Local Rule AT-3(j).

                                                TRIAL

        The deadlines for pre-trial matters, such as exchanging exhibits, and objections, are
intended to reduce the need for trial objections, side-bar conferences, and repetitive presentation
of evidentiary predicates for clearly admissible evidence. Counsel should be familiar with the
evidence display system available in the courtroom. Copies of exhibits which will be handed to
witnesses should be placed in a three-ring binder, with an additional copy for the Court. (To make
it easy to direct the witness to the correct exhibit while on the stand, Plaintiff should use a dark
colored binder such as black or dark blue. Defendant should use a light-colored binder such as
white, red, or light blue.) Alternatively, if exhibits have been scanned and will be presented via a
computer projection system, be sure there is a way for the Court to view or read them separately


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so as to be able to understand motions and objections.

       Counsel are responsible for informing their clients and witnesses about courtroom dress
requirements and protocol, such as silencing pagers and phones, and not chewing gum, reading
newspapers, or eating.
        .
                                     OTHER MATTERS

1. Please note the amendments to the Local Rules regarding motion practice. If a document filed
   electronically exceeds ten pages in length, including attachments, a paper copy of the filed
   document must be sent contemporaneously to the undersigned’s chambers in Plano. See Local
   Rule CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the left, and
   voluminous exhibits should be separated by dividers.

2. If necessary, the parties should notify the Court if assistance is needed in selecting a mediator.

3. Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule CV-
   7(f). The parties are reminded that “[t]he Court need not wait for the reply or sur-reply before
   ruling on the motion.” Local Rule CV-7(f) (emphasis added).

             So ORDERED and SIGNED this 3rd day of February, 2020.




                                                               ____________________________________
                                                               SEAN D. JORDAN
                                                               UNITED STATES DISTRICT JUDGE




                                                  5
